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                            EXHIBIT 6
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                         Carnation Ambulatory Monitor (CAM®) Specifications
ELECTRODE CHARACTERISTICS
 ITEM                                                         SPECIFICATION
 Number of electrodes                                         2
 Type                                                         Electrode incorporating electrode gel and internal lead wire
 Supplied as                                                  Disposable, non-sterile
 Lead wire length                                             11.6 cm (no patient contact)
 Materials                                                    Electrode gel: Medical grade conductive synthetic
                                                              Adhesive: Medical grade skin adhesive

ENVIRONMENTAL SPECIFICATIONS (ECG DEVICE)
 ITEM                                                         SPECIFICATION
 Operating temperature                                        50°F to 113°F
                                                              (10ºC to 45ºC)
 Operating altitude                                           700 to 1060 hPa
 Operating humidity                                           10% to 95%
                                                              (non-condensing)
 Transport temperature                                        14°F to 130°F
                                                              (-10 ºC to 55 ºC)
 Storage temperature                                          59°F to 77°F
                                                              (15ºC to 25ºC)
 Transport/Storage humidity                                   10% to 95%
                                                              (non-condensing)
 Transport/ Storage altitude                                  500 to 1060 hPa
 Standards compliance                                         Applicable sections of IEC
                                                              60601-1, 60601-1-2, 60601-1-11, 60601-2-47

PERFORMANCE CHARACTERISTICS
 ITEM                                                        SPECIFICATION
 Recording capacity                                           48 hours                  7 days                 14 days
 Recording capacity                                           48 hours                  7 days                 14 days
 ECG Channels                                                 1 channel                 1 channel              1 channel
 Recording format                                             Continuous                Continuous             Continuous
 Service life                                                 48 hours                  7 days                 14 days
 Shelf life                                                   2 years                   2 years                2 years

PHYSICAL CHARACTERISTICS                                      ELECTRICAL CHARACTERISTICS
 ITEM                    SPECIFICATION                           ITEM                                SPECIFICATION
                                                                 Frequency response                  0.67 Hz to 25 Hz
 Approximate                   178mm x 38mm x 14mm
 Dimensions                                                      Differential range                  4 mV
 Weight                        16g
                                                                 A/D sampling rate                   171 Hz
 Enclosure material            ABS


POWER REQUIREMENTS                                            CLASSIFICATION
 Battery type                  Lithium primary (coin cell)       Type of protection                  Internally powered
                                                                 Degree of protection                Type BF applied part
                                                                 Protection against objects          IP23 (Protected against intrusion
                                                                 and water ingress                   from fingers and small objects, and
                                                                                                     from water falling as a spray at an
                                                                                                     angle of up to 60º from vertical)




                                                                                                              Bardy Diagnostics, Inc.®
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